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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

WILLIAM R. HANLEY
                                                                   CIVIL ACTION
VERSUS
                                                                   NO. 20-23-JWD-SDJ
ANDREW SAUL

                                          OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report dated May 24, 2021 (Doc. 17), to which no objection

was filed,

       IT IS ORDERED that the Commissioner’s Motion to Remand (R. Doc. 16) is

GRANTED.

       IT IS FURTHER ORDERED that the Commissioner’s March 6, 2017 final

administrative decision is REVERSED and REMANDED to the Commissioner, pursuant to

sentence four of 42 U.S.C. § 405(g).

       IT IS FURTHER ORDERED that Plaintiff’s action is DISMISSED, reserving

Plaintiff’s right to the subsequent timely filing of an application for attorney’s fees under the

Equal Access to Justice Act. See 28 U.S.C. § 2412(d)(1)(B).

       Judgment shall be entered accordingly.

       Signed in Baton Rouge, Louisiana, on June 8, 2021.



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                                        JUDGE JOHN W. deGRAVELLES
                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA
